                                          Case 5:16-cv-03260-BLF Document 551 Filed 06/06/19 Page 1 of 5




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     SPACE DATA CORPORATION,                            Case No. 16-cv-03260-BLF
                                   8                    Plaintiff,
                                                                                            ORDER GRANTING IN PART AND
                                   9             v.                                         DENYING IN PART PLAINTIFF’S
                                                                                            MOTION TO SEAL AT ECF 538
                                  10     ALPHABET INC., et al.,
                                                                                            [Re: ECF 538]
                                  11                    Defendants.

                                  12          Before the Court is Plaintiff’s administrative motion to file under seal exhibits to Plaintiff’s
Northern District of California
 United States District Court




                                  13   motion for leave to file motion reconsideration. ECF 538. For the reasons that follow, Plaintiff’s
                                  14   motion to seal is GRANTED IN PART and DENIED IN PART.
                                  15     I.   LEGAL STANDARD
                                  16          “Historically, courts have recognized a ‘general right to inspect and copy public records
                                  17   and documents, including judicial records and documents.’” Kamakana v. City & Cty. Of
                                  18   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435
                                  19   U.S. 589, 597 & n. 7 (1978)). Accordingly, when considering a sealing request, “a ‘strong
                                  20   presumption in favor of access’ is the starting point.” Id. (quoting Foltz v. State Farm Mut. Auto.
                                  21   Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). Parties seeking to seal judicial records relating to
                                  22   motions that are “more than tangentially related to the underlying cause of action” bear the burden
                                  23   of overcoming the presumption with “compelling reasons” that outweigh the general history of
                                  24   access and the public policies favoring disclosure. Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d
                                  25   1092, 1099 (9th Cir. 2016); Kamakana, 447 F.3d at 1178–79.
                                  26          Parties moving to seal documents must also comply with the procedures established by
                                  27   Civ. L.R. 79-5. Pursuant to Civ. L.R. 79-5(b), a sealing order is appropriate only upon a request
                                  28   that establishes the document is “sealable,” or “privileged or protectable as a trade secret or
                                          Case 5:16-cv-03260-BLF Document 551 Filed 06/06/19 Page 2 of 5




                                   1   otherwise entitled to protection under the law.” “The request must be narrowly tailored to seek

                                   2   sealing only of sealable material, and must conform with Civil L.R. 79-5(d).” Civ. L.R. 79-5(b).

                                   3   In part, Civ. L.R. 79-5(d) requires the submitting party to attach a “proposed order that is narrowly

                                   4   tailored to seal only the sealable material” which “lists in table format each document or portion

                                   5   thereof that is sought to be sealed,” Civ. L.R. 79-5(d)(1)(b), and an “unredacted version of the

                                   6   document” that indicates “by highlighting or other clear method, the portions of the document that

                                   7   have been omitted from the redacted version.” Civ. L.R. 79-5(d)(1)(d). “Within 4 days of the

                                   8   filing of the Administrative Motion to File Under Seal, the Designating Party must file a

                                   9   declaration as required by subsection 79-5(d)(1)(A) establishing that all of the designated material

                                  10   is sealable.” Civ. L.R. 79-5(e)(1).

                                  11    II.   DISCUSSION
                                  12          The Court has reviewed Plaintiff’s sealing motion and the declaration of the designating
Northern District of California
 United States District Court




                                  13   party submitted in support thereof. The Court finds that Google, the designating party, has

                                  14   articulated compelling reasons to seal certain portions of the submitted documents. The proposed

                                  15   redactions are generally narrowly tailored. The Court’s rulings on the sealing requests are set

                                  16   forth in the tables below.

                                  17     ECF      Document to be Sealed:                 Result                        Reasoning
                                         No.
                                  18     538-4    Ex. A to Motion for        GRANTED as to Google’s            Contains confidential
                                  19              Leave (Motion for          request:                          information about the design
                                                  Reconsideration)           • 1:13 (remainder of the          and operation of Loon’s
                                  20                                         sentence after “Google’s”),       navigational systems and its
                                                                             • 2:13 (after “Loon” and          source code. Bruns
                                  21                                         before “i.e.”),                   Decl. ¶ 5, ECF 546-1.
                                                                             • 3:4-5 (after “Loon” and         Public disclosure would
                                  22                                         before “one relative”),           expose Google to
                                  23                                         • 3:6-7 (parenthetical            competitive harm. Id.
                                                                             spanning these lines),
                                  24                                         • 3:8-10 (quotation spanning
                                                                             these lines),
                                  25                                         • 3:13 (after “Space Data’s”
                                                                             and before “evidence”),
                                  26
                                                                             • 3:15 (after “Space Data’s”
                                  27                                         and before “evidence”),
                                                                             • 3:17 (after “that” and before
                                  28                                         “was immaterial”),
                                                                                         2
                                        Case 5:16-cv-03260-BLF Document 551 Filed 06/06/19 Page 3 of 5




                                   1   ECF     Document to be Sealed:                Result                        Reasoning
                                       No.
                                   2                                     • 3:24 (after “upon” and
                                   3                                     before “evidence”),
                                                                         • 3:26 (both parentheticals),
                                   4                                     • 4:2-3 (remainder of the
                                                                         sentence after “Google’s”),
                                   5                                     • 4:6-7 (entire lines),
                                                                         • 4:8 (first four words),
                                   6                                     • 4:10-11 (parenthetical
                                   7                                     spanning these lines),
                                                                         • 4:15 (remainder of the
                                   8                                     sentence after “just its”),
                                                                         • 4:16 (parenthetical
                                   9                                     following “287-282”),
                                                                         • 4:17: (parenthetical
                                  10
                                                                         following “371”),
                                  11                                     • 4:21-25 (entire block quote),
                                                                         • 5:6-10 (parenthetical
                                  12                                     spanning these lines),
Northern District of California




                                                                         • 5:11-12 (sentence spanning
 United States District Court




                                  13                                     these lines), and
                                                                         • 5:25-6:3 (parenthetical
                                  14
                                                                         spanning these lines).
                                  15
                                                                         DENIED as to the remainder. Google, the designating
                                  16                                                                 party, does not seek to seal
                                                                                                     the remaining identified
                                  17                                                                 portions.
                                  18   538-6   Ex. B to Hosie Decl. to   GRANTED as to Google’s            Contains confidential
                                               Motion for Leave          request: Slides 27 & 29           information about Loon’s
                                  19                                                                       technical details. Bruns
                                                                                                           Decl. ¶ 6, ECF 546-1. This
                                  20
                                                                                                           information contains
                                  21                                                                       references to information
                                                                                                           previously sealed by the
                                  22                                                                       Court. Id.
                                  23   538-8   Ex. C to Hosie Decl. to   GRANTED as to Google’s            Contains confidential
                                               Motion for Leave          request: Entire document.         information about Loon’s
                                  24                                                                       technical details. Bruns
                                                                                                           Decl. ¶ 7, ECF 546-1. This
                                  25                                                                       information is the same as
                                                                                                           information previously
                                  26
                                                                                                           sealed by the Court. Id.
                                  27   538-10 Ex. D to Hosie Decl. to    GRANTED as to Google’s            Contains confidential
                                              Motion for Leave           request: Page 46, lines 3-6.      information about the design
                                  28
                                                                                    3
                                        Case 5:16-cv-03260-BLF Document 551 Filed 06/06/19 Page 4 of 5




                                   1   ECF       Document to be Sealed:              Result                      Reasoning
                                       No.
                                   2                                                                    and operation of Loon’s
                                   3                                                                    navigational systems. Bruns
                                                                                                        Decl. ¶ 8, ECF 546-1. This
                                   4                                                                    information is the same as
                                                                                                        information previously
                                   5                                                                    sealed by the Court. Id.
                                   6   538-12 Ex. E to Hosie Decl. to     GRANTED as to Google’s        Contains confidential
                                              Motion for Leave            request: The highlighted      information about Loon’s
                                   7                                      portions of ¶¶ 4–5; diagram   technical details. Bruns
                                                                          above ¶ 301; and ¶ 308 (not   Decl. ¶ 9, ECF 546-1. This
                                   8                                      including footnotes 556 and   information is the same as
                                   9                                      557).                         information previously
                                                                                                        sealed by the Court. Id.
                                  10
                                                                          DENIED as to the remainder. Google, the designating
                                  11                                                                  party, does not seek to seal
                                                                                                      the remaining identified
                                  12
Northern District of California




                                                                                                      portions.
 United States District Court




                                  13   538-14 Ex. F to Hosie Decl. to     GRANTED as to Google’s        Contains confidential
                                              Motion for Leave            request: All except           information about Loon’s
                                  14                                      ¶¶ 283–286 & ¶ 290.           technical details. Bruns
                                  15                                                                    Decl. ¶ 10, ECF 546-1. This
                                                                                                        information is the same as
                                  16                                                                    information previously
                                                                                                        sealed by the Court. Id.
                                  17
                                       538-16 Ex. G to Hosie Decl. to     GRANTED as to Google’s        Contains confidential
                                  18          Motion for Leave            request: same portions that   information about Loon’s
                                                                          were previously sealed.       technical details. Bruns
                                  19                                                                    Decl. ¶ 11, ECF 546-1. This
                                                                                                        information is the same as
                                  20                                                                    information previously
                                  21                                                                    sealed by the Court. Id.
                                       538-18 Ex. H to Hosie Decl. to     DENIED.                       Google, the designating
                                  22          Motion for Leave                                          party, does not seek to seal
                                  23                                                                    this document.

                                  24        //

                                  25        //

                                  26        //

                                  27        //

                                  28        //

                                                                                     4
                                          Case 5:16-cv-03260-BLF Document 551 Filed 06/06/19 Page 5 of 5




                                   1   III.   CONCLUSION

                                   2          For the foregoing reasons, the Court hereby GRANTS IN PART and DENIES IN PART

                                   3   Plaintiff’s motion to seal at ECF 538. For any request that has been denied and the properly

                                   4   unredacted or lesser redacted document consistent with this order has not been filed, the

                                   5   submitting party must file the unredacted (or lesser redacted) documents into the public record no

                                   6   earlier than 4 days and no later than 10 days from the filing of this order. Civ. L.R. 79-5(e)(2).

                                   7

                                   8          IT IS SO ORDERED.

                                   9   Dated: June 6, 2019

                                  10                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  11                                                    United States District Judge
                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         5
